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                              BEFORE THE UNITED STATES
                                   JUDICIAL PANEL
                             ON MULTIDISTRICT LITIGATION

                                                      )
 In re: FORD MOTOR CO. DPS6                           )
 POWERSHIFT TRANSMISSION                              )   MDL NO. 2814
 PRODUCTS LIABILITY LITIGATION                        )
                                                      )

                     NOTICE OF POTENTIAL TAG-ALONG ACTION

       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, defendant Ford Motor Company hereby notifies the Panel of the

potential tag-along action listed on the attached Schedule of Actions. The docket sheet and

Complaint for this action is attached as Exhibit 1.



                                                Respectfully submitted,

                                                /s/ Eric C. Tew
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